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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York

EAG/NS/MCM                                        271 Cadman Plaza East
F. #2019R00029                                    Brooklyn, New York 11201

                                                  July 23, 2021

By E-Mail and ECF

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                Re:   United States v. Robert Kelly
                      Criminal Docket No. 19-286 (AMD)

Dear Counsel:

               Pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure, the
government hereby notifies you that it intends to call at trial in the above-referenced matter
Dr. Iffath Hoskins, Dr. Dawn Hughes, Yongfei Wu and Veronica Jackson to testify about the
matters described below. A curriculum vitae for each of these experts will be included in
their Section 3500 material, which will be provided to you on Monday, July 26, 2021. The
government reserves the right to call substitute expert witnesses. Please also consider this
letter the government’s request for reciprocal discovery, including notice of any anticipated
defense experts.

I.     Dr. Iffath Hoskins

                Dr. Hoskins is a medical doctor who is board certified by, inter alia, the
American Board of Obstetrics and Gynecology. She currently serves as the Director of
Safety and Quality of the Department of Obstetrics and Gynecology at the New York
University (“NYU”) School of Medicine and has held this position since 2013. Dr. Hoskins
is also a Clinical Professor of Obstetrics and Gynecology at the NYU School of Medicine.
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               At trial, Dr. Hoskins will testify about sexually transmitted diseases and
testing, including herpes, methods of contraception and the “morning after” pill, also known
as “Plan B.” With respect to herpes, Dr. Hoskins will testify regarding what herpes is, its
etiology and how it is transmitted; the different types of the disease, its symptoms and effects
(both short and long term); how the disease manifests and presents itself; herpes treatments,
including medications used to treat the disease; the manners in which herpes is diagnosed;
instructions given to patients diagnosed with herpes in a clinical setting; and how not
everyone exposed to herpes contracts the disease. Dr. Hoskins may also explain certain
medical records, including those belonging to the defendant and Jane Doe #6.

II.    Dr. Dawn Hughes

               In its March 17, 2020 letter providing discovery pursuant to the Federal Rules
of Criminal Procedure, the government disclosed that it intended to call an expert to testify
about social isolation and trauma bonding. The government now discloses that it will call
Dr. Dawn Hughes at trial to testify about such matters, including those described below. Dr.
Dawn Hughes has a PhD in clinical psychology and is board certified in forensic psychology.
She currently has a private practice involving clinical psychology and forensic psychology.
In addition, she serves as a Clinical Assistant Professor of Psychology in the Department of
Psychiatry at Weill Cornell/New York-Presbyterian Hospital. Dr. Hughes’ curriculum vitae
is attached.

                At trial, Dr. Hughes will testify about interpersonal violence, including
physical assault and coercive control. For example, she will testify regarding (a) how
victims respond to interpersonal violence, including why they might remain with their
abusers, (b) the physiological effects of interpersonal violence, (c) coping mechanisms used
by victims of interpersonal violence, and (d) how interpersonal violence may result in
delayed reporting to law enforcement and affect memory recall. Dr. Hughes previously
testified as an expert about similar matters in United States v. Keith Raniere, Criminal
Docket No. 18-204 (NGG), in this District, and a copy of her testimony in that matter will be
included in her Section 3500 material, which will be disclosed to you on Monday, July 26,
2021.




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III.   Yongfei Wu and Veronica Jackson

                In its March 17, 2020 letter, the government also disclosed that it would call
one or more experts to testify at trial about the examinations and conclusions set forth in
Discovery Exhibit 118. The government now discloses that it will call Yongfei Wu and
Veronica Jackson, who variously recovered DNA from a t-shirt provided by Jane Doe #4
(the “T-Shirt”) and determined that the DNA profile from the recovered DNA matched the
profile of the defendant, as described in further detail in the materials provided in Discovery
Exhibit 118. Both witnesses are employed by the Illinois State Police’s (the “ISP”) Division
of Forensic Services. As the defendant is aware, the government recently obtained a DNA
swab from the defendant and the ISP is undergoing a comparison of the defendant’s DNA
swab to the DNA recovered from the T-Shirt. The government will provide the results of
that DNA comparison as soon as the government obtains it. Given that an individual’s DNA
does not change over time and that the DNA recovered from the T-Shirt was previously
determined to match the defendant’s DNA, the government anticipates that the results of the
revised analysis will be the same as those disclosed in Discovery Exhibit 118.


                                                   Very truly yours,

                                                   JACQUELYN M. KASULIS
                                                   Acting United States Attorney

                                            By:         /s/
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cc:    Clerk of the Court (AMD) (by ECF)




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